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FILED

UNITED STATES DISTRICT COURT

   

WESTERN DISTRICT of TEXAS CLERK, WS. pismicy COURT,
SAN ANTONIO DIVISION VESTERG_ DISTRICT OF TEX
RHETT SMITH, §
§
Plaintiff § Civil Action
§ No. SA-6-CA-902-RF
v. §
§ Appeal No. 7-50793
JOHN HAGEE, §
§
Defendant §

ORDER

Plaintiff Rhett Smith filed a document (Docket Entry # 35) stating “Per U.S. Court of Appeals
. . Plaintiff refiles above case.” Construing this document as a motion to reconsider this Court’s
Order dismissing his 42 U.S.C. § 1983 Civil Rights Complaint, the motion is DENIED. Plaintiff
failed to identify an error of law or fact or other grounds warranting relief from judgment pursuant
to Fed. R. Civ. P. 60(b). Construing this document as a motion to reconsider the Court of Appeals
dismissal of his appeal, the relief x is beyond this Court’s authority and the motion is DENIED.
DATED: September ar® = ,2007

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ROYAJ/FURGESON
United States District Judge
